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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

THE STATE OF TEXAS; TEXAS             §
HEALTH AND HUMAN SERVICES             §
COMMISSION                            §
                      Plaintiffs,     §
                                      §
v.                                    §       CIVIL ACTION NO. 6:21-CV-191
                                      §
CHIQUITA BROOKS-LASURE, in            §
her official capacity as              §
Administrator of the Centers          §
for Medicare & Medicaid Services,     §
et al.                                §
                        Defendants.   §


             PARTIAL MOTION FOR JUDGMENT ON THE PLEADINGS




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      I.       Introduction

            Pursuant to the Court’s Order of September 28, 2021, ECF No. 66, Defendants move for

partial judgment on the pleadings as to Counts IX, X, and XI of Plaintiffs’ First Amended

Complaint. Plaintiffs’ Amended Complaint fails to state a claim for which relief may be granted

under 5 U.S.C. § 706(1) because, among other things, the agency actions they claim have been

unlawfully withheld or unreasonably delayed are not required by law. Plaintiffs’ estoppel claim

fails, because estoppel cannot lie against the federal government where public money is at stake,

nor have Plaintiffs alleged all of the necessary elements of an estoppel claim. And Plaintiffs fail

to state a claim under the Spending Clause because, among other things, they do not challenge

the constitutionality of any statute or regulation. For the reasons explained herein, the Court

should dismiss those claims and grant partial judgment in favor of Defendants.

      II.      Standard of Review1

            “[M]otions for judgment on the pleadings may be filed at any time after the pleadings are

closed so long as filing them does not delay trial.” United States ex rel. Long v. GSDMIdea City,

L.L.C., 798 F.3d 265, 275 (5th Cir. 2015); see Fed. R. Civ. P. 12(c). Courts evaluate Rule 12(c)

motions “using the same standard as a motion to dismiss under rule 12(b)(6) for failure to state a

claim.” Gentilello v. Rege, 627 F.3d 540, 543-44 (5th Cir. 2010) (quoting Doe v. MySpace, Inc.,

528 F.3d 413, 418 (5th Cir. 2008)). “To avoid dismissal a plaintiff must plead sufficient facts ‘to

state a claim for relief that is plausible on its face.’” Id. at 544 (quoting Ashcroft v. Iqbal, 129 S.

Ct. 1937, 1949 (2009)). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the




1   Given the Court’s familiarity with the background of this case, Defendants do not repeat it here.
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misconduct alleged …. [courts] do not accept as true conclusory allegations, unwarranted factual

inferences, or legal conclusions.” Id. (citations omitted).

    III.      Argument
              a. The Court should dismiss Plaintiffs’ claim to compel agency action
                 unlawfully withheld or unreasonably delayed (Count IX).

           Plaintiffs’ Amended Complaint does not state a claim under 5 U.S.C. § 706(1) for which

relief may be granted. Plaintiffs’ § 706(1) claim seeks to compel Defendants’ compliance with

alleged procedural and substantive obligations created by the purported January 15 extension

approval of Texas’s Medicaid demonstration project (THTQIP) and its Special Terms and

Conditions (STCs). 1st Amd. Compl. ¶¶ 186-87. The alleged procedural obligations cannot be

compelled, if at all, unless Plaintiffs first prevail on the merits of their other APA claims, such

that the January 15 extension approval is operative, and the alleged substantive obligations

cannot be compelled at all.

           As an initial matter, the Court is not confined to the face of the Amended Complaint to

assess the viability of Plaintiffs’ § 706(1) claim. The Amended Complaint specifically references

and relies on both the January 15 letter and the STCs to support Plaintiffs’ Count IX allegations.

See 1st Amd. Compl. ¶¶ 178-79. And even if Plaintiffs had not so clearly incorporated these

documents into their pleading, they can still be considered because they are attached to this

motion. See Exhibit A, January 15 Letter and attachments. The Fifth Circuit “has held that

[d]ocuments that a defendant attaches to a motion to dismiss are considered part of

the pleadings if they are referred to in the plaintiff's complaint and are central to her claim ….

Given the similarities in the analyses under Rule 12(c) and Rule 12(b)(6), we will apply the same

rule to documents attached to the Defendants' motion for judgment on the pleadings.” Bosarge v.

Mississippi Bureau of Narcotics, 796 F.3d 435, 440 (5th Cir. 2015). Moreover, the content of the



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documents trumps any contrary assertions made in Plaintiffs’ Amended Complaint. See id. at

440-41 (distinguishing attached affidavits, which may only “aid in evaluating the pleadings,”

from “contracts and medical records attached to a complaint, which we have held generally

trump contradictory allegations in the complaint.”).

       Plaintiffs first seek to compel alleged procedural obligations that this Court held in its

preliminary rulings are required by the purported January 15 extension approval or the STCs,

including participation in a collaborative negotiation process and engagement in every other day

meetings with Plaintiffs concerning directed-payment programs. 1st Amd. Compl. at ¶ 186. 2

Plaintiffs do not allege that these procedural obligations arise from any source other than the

January 15 letter and its STCs. See id. ¶¶ 32, 58, 83-84, 103, 105, 177-78, 180. Therefore, absent

the January 15 extension, there are no statutory or regulatory obligations on Defendants to

engage in any of the procedural steps alleged by Plaintiffs. While this is also true of the

substantive obligations Plaintiffs allege the January 15 letter and STCs impose, those claims are

independently barred because they are not required by the January 15 letter or STCs, see infra.

       “[A] claim under § 706(1) can proceed only where a plaintiff asserts that an agency

failed to take a discrete agency action that it is required to take.” Norton v. S. Utah Wilderness

Alliance, 542 U.S. 55, 64 (2004). The alleged procedural obligations of the January 15 letter and

STCs are neither legally required nor discrete. The substance of this lawsuit concerns whether

the purported January 15 extension approval is in force despite having been voided, either by

operation of law, or, as Plaintiffs contend, through CMS’s April 16 letter. The Court has not yet

reached the merits of that question, and currently any obligations allegedly stemming from the



2Defendants dispute that the STCs, if in force, would impose legally binding obligations on
Defendants, see Prelim. Inj. Opp. ECF No. 23, but given the Court’s preliminary rulings,
Defendants will not reargue that point in this filing.
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January 15 letter or its STCs exist only by virtue of this Court’s Preliminary Injunction, which

requires CMS to “treat Texas’s demonstration project . . . as currently remaining in effect as it

existed on April 15, 2021, ECF No. 47, at 26 (emphasis added).3 In the absence of the

preliminary injunction, the January 15 extension would not be in effect and thus could not

impose any obligations on Defendants. Accordingly, while Plaintiffs could seek to enforce

compliance with the preliminary injunction (if necessary) while it remains in place, there is no

separate legal requirement for Defendants to conform to any procedural aspects of the STCs that

can arguably be compelled under § 706(1). Plaintiffs’ claim is premature because it assumes that

the merits of this case will be resolved in Plaintiffs’ favor. Unless and until this Court

permanently enjoins Defendants to “treat Texas’s demonstration project . . . as currently

remaining in effect as it existed on April 15, 2021,” ECF No. 47 at 26, there is no requirement of

agency action that could be unlawfully withheld or unreasonably delayed under § 706(1).

        The alleged procedural obligations also are not discrete action as contemplated by the

Supreme Court in Norton. An ongoing agency consultation process is not “a discrete agency

action” and thus the Court does not have authority to compel such a process. The APA defines

“agency action” as “the whole or a part of an agency rule, order, license, sanction, relief, or the

equivalent or denial thereof, or failure to act.” 5 U.S.C. §§ 551(13), 701(b)(2). Each of these

categories of action is then further defined. See id. §§ 551(4), (6), (8), (10), (11). A “‘failure to

act’ is properly understood as . . . a failure to take one of the agency actions . . . defined in

§ 551(13).” Norton, 542 U.S. at 62.




3Previously, because of Plaintiffs’ pending appeal before the Departmental Appeals Board,
Defendants were obligated to treat the January 15 letter as in force, but Plaintiffs have now
voluntarily dismissed that appeal.
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        Courts “have long recognized” that the term “agency action,” while “expansive,” “is not

 so all-encompassing as to authorize . . . judicial review over everything done” by an agency.

 Fund for Animals, Inc. v. BLM, 460 F.3d 13, 19-20 (D.C. Cir. 2006); Invention Submission Corp.

 v. Rogan, 357 F.3d 452, 459 (4th Cir. 2004); see Whitlock Const., Inc. v. Glickman, 71 F. Supp.

 2d 1154, 1159 (D. Wyo. 1999). “Agencies prepare proposals, conduct studies, meet [i.e.,

 consult] with Members of Congress and interested groups, and engage in a wide variety of

 activities that comprise the common business of managing government programs.” Fund for

 Animals, 460 F.3d at 19-20. Such activities do not constitute agency action. See id.

        The process contemplated by the STCs is not an “agency action.” Rather, it is an

 ongoing process through which CMS works collaboratively with Texas to consider, negotiate,

 and potentially approve requests for directed-payment programs. See Ex. A, STCs 29-34, at 47-

 49. Such a process cannot reasonably be viewed as a “rule,” 5 U.S.C. § 551(4), “order,” id.

 § 551(6), “license,” id. § 551(8), “sanction,” id. § 551(10), or “relief,” id. § 551(11). See, e.g.,

 Fund for Animals, 460 F.3d at 19-20 (an agency’s budget request is not agency action); Wild

 Fish Conservancy v. Jewell, 730 F.3d 791, 801 (9th Cir. 2013) (closing the gates of a dam is not

 fairly analogous to a “rule, order, license, sanction, [or] relief”); Guerrero v. Clinton, 157 F.3d

 1190, 1195 (9th Cir. 1998) (agency response to a congressional reporting requirement is not

 agency action). The inappropriateness of an order compelling participation in this ongoing

 collaborative process under § 706(1) is made clear by the practical form that such relief would

 necessarily take.

        Courts are well-suited to reviewing specific agency decisions, such as rulemakings,
        orders, or denials. We are woefully ill-suited, however, to adjudicate generalized
        grievances asking us to improve an agency's performance or operations….When courts
        undertake such generalized review of agency operations, they are necessarily forced
        either to enter a disfavored ‘obey the law’ injunction . . . or to engage in day-to-day



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        oversight of the executive's administrative practices….Both alternatives are foreclosed by
        the APA, and rightly so.


 Walmart Inc. v. U.S. Dep’t of Justice, 517 F. Supp. 3d 637, 655 (E.D. Tex. 2021) (quoting City

 of New York v. Dep't of Defense, 913 F.3d 423, 431 (4th Cir. 2019)).

        The substantive actions Plaintiffs’ § 706(1) claim seeks to compel should be dismissed

 for another, independent reason: they are not required by the January 15 letter, the STCs, or any

 other law. Plaintiffs allege that “Defendants’ failure to approve the directed payment programs in

 a timely manner … must be enjoined,” 1st Am. Compl. ¶ 186, and that “Plaintiffs are entitled to

 declaratory judgment that Defendants may not reject the directed-payment programs based on

 their size in comparison to Texas’s larger Medicaid program,” 1st Am. Compl. ¶ 187. Relief may

 not be granted under § 706(1) on either of these claims because “the only agency action that can

 be compelled under the APA is action legally required.” Norton, 542 U.S. at 63. This limitation

 ensures that the action a plaintiff seeks to compel is “demanded by law,” and not merely within

 the agency’s discretion. Id. at 64-65 (“[T]he APA carrie[s] forward the traditional practice”

 under writs of mandamus, which were limited “to enforcement of a specific, unequivocal

 command,” and “rules out judicial direction of . . . action that is not demanded by law.”).

        Approval of directed-payment programs is not “demanded by law” and thus is not the

 sort of “ministerial or non-discretionary act” that can be compelled under § 706(1). Id. As is

 made clear in both the text of the January letter and the STCs, the directed payments cannot be

 approved unless they meet the standards of 42 C.F.R. § 438.6, which does not require CMS to

 approve payments at all or on any timeline. See 42 C.F.R. § 438.6; see also, e.g., Mendoza-

 Tarango v. Flores, 982 F.3d 395, 400-401 (5th Cir. 2020) (explaining the specificity with which

 regulations must impose legal obligations upon agencies in order to be compelled by a Court



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 order). Both the text of the January 15 letter and STC 29 also explicitly state that neither

 document is itself an approval nor compels the approval of any directed-payment program. Ex. A

 at 6 (“These [state directed] payments are not being approved or opined upon as part of this

 demonstration renewal . . . .To the extent regulatory requirements concerning state-directed

 payments in 42 CFR part 438 are not expressly waived or identified as not applicable, they

 continue to apply in full force; in the event of any incompatibility between regulatory

 requirements and what is stated in the STCs, the regulations would prevail.”); Ex. A at 47- 48

 (STC 29) (“Description of a particular state directed payment in these STCs does not qualify as

 CMS approval, nor does it negate the approval and other requirements of 42 CFR 438.6(c).

 Notwithstanding these STCs, all federal standards and requirements under 42 CFR 438.6(c), or

 successor regulations, will apply.”). Indeed, Plaintiffs allege this explicitly in their Amended

 Complaint. 1st Amd. Compl. ¶ 83 (“[T]he STCs did not mandate that CMS approve the directed

 payment programs.”)

        Nor does the process established by the STCs create any requirement of approval by

 implication—even assuming an “implied obligation” could satisfy the Supreme Court’s

 requirement of a “specific, unequivocal command” or one “demanded by law,” Norton, 542 U.S.

 at 63-65. STC 30 states that “the state and CMS will work collaboratively towards consideration

 of approval of state requests.” Ex. A at 48. Consideration of approval does not demand approval.

 STC 33 states that CMS will evaluate information provided by the state “to determine whether

 CMS anticipates that the request may be considered approvable.” Id. at 48-49. An obligation to

 determine whether something may be considered approvable likewise does not demand approval.

 Moreover, although the STCs establish timelines for working towards consideration of approval

 of requested payments, in keeping with the text of the January letter and STC 29, they at no point



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 deprive CMS of its authority to deny the requested payments because they are not approvable.

 STCs 33 and 34 direct CMS to act within a certain time either to notify Texas that a requested

 payment will be approved or to request additional modification if CMS believes a request can be

 made approvable. Id. at 48-49. However, these STCs do not direct any particular action if CMS

 makes a final decision that the requested directed-payments cannot be made approvable. Indeed,

 both STCs provide timelines in advance of “a final decision” or “final consideration of the

 proposal,” not in advance of “approval.” Id. Thus, approvals of Texas’s directed-payment

 programs are a quintessential exercise of discretion that cannot be compelled under the APA.

        Additionally, even if CMS were required by statute, regulation, or the STCs to make

 decisions on Plaintiffs’ requests for directed payments by a specific deadline (and it is not, see

 STC 34, Ex. A at 49), the Court could not compel CMS to approve the payments. “[W]hen an

 agency is compelled by law to act within a certain time period, but the manner of its action is left

 to the agency's discretion, a court can compel the agency to act, but has no power to specify

 what the action must be.” Norton, 542 U.S. at 65 (emphasis added). Thus, the Court lacks

 authority to require CMS to approve these payments. CMS is working collaboratively with

 Plaintiffs to agree upon directed-payment programs that are approvable under the applicable

 regulations, but CMS nevertheless retains the authority to deny the proposed programs at any

 time. No set of facts Plaintiffs could show could alter this conclusion emanating from the

 controlling law, the January letter, or the STCs, and therefore Plaintiffs cannot state a claim on

 which relief may be granted as to approval of the STCs.

        Plaintiffs attempt to evade these restrictions by asking for a declaratory judgment that the

 proposed directed-payment programs may not be rejected on the basis of their size. This effort

 also fails. As an initial matter, a declaratory judgment is only a remedy, not its own cause of



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 action, so Plaintiffs are still subject to the requirements imposed by § 706(1), which provides

 their cause of action. Harris County v. MERSCORP Inc., 791 F.3d 545, 552 (5th Cir. 2015).

 More importantly, as explained, both the January letter and the STCs explicitly reserve to CMS

 the authority to approve or reject directed-payments notwithstanding any of the terms of those

 documents. Ex. A at 6, 48 (STC 29). Additionally, the size of proposed directed-payments is a

 factor that must be considered under 42 C.F.R. § 438.6, which CMS is bound to apply in

 determining whether to approve a directed-payment program. See Ex. A at 6, 48 (STC 29); 42

 C.F.R. § 438.6(c)(2)(i); 42 C.F.R. § 438.4 (requiring approval by CMS of the actuarial soundness

 of capitation rates for directed-payment programs); 42 C.F.R. § 438.5 (establishing standards for

 actuarially sound capitation rates). The Court thus cannot direct CMS not to consider this factor.

         Because Plaintiffs have not stated a claim under § 706(1), the Court must dismiss their

 claim. Even if the Court finds that Plaintiffs’ effort to compel alleged procedural obligations,

 though premature, may be maintained, it should nevertheless dismiss the substantive aspect of

 this claim.

               b. The Court should dismiss Plaintiffs’ estoppel claim (Count X).

          In Count X, Plaintiffs seek to evade the state and federal notice-and-comment

 requirements of the controlling statute and regulations on the basis of alleged assurances by CMS

 that Plaintiffs were exempt from the requirements. See 1st Amd. Compl. ¶ 190. Even assuming

 estoppel can apply against the government in some circumstances, it cannot apply where, as

 here, public money is at stake.” United States v. Cushman & Wakefield, Inc., 275 F. Supp. 2d

 763, 768 (N.D. Tex. 2002) (citing Office of Personnel Management v. Richmond, 496 U.S. 414,

 422, 426 (1990)); see also, e.g., Campo v. Allstate Inc. Co., 562 F.3d 751, 757 n.46 (5th Cir.

 2009) (“If federal funds are implicated, Campo’s equitable estoppel claim would be



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 barred.”); Rosas v. U.S. Small Bus. Admin., 964 F.2d 351, 360 (5th Cir, 1992) (“claims for

 estoppel cannot be entertained where public money is at stake.”). Although this rule is often

 applied in situations where a plaintiff seeks the payment of a debt that ultimately issues from the

 federal fisc, see, e.g., Cohen v. Allstate Ins. Co., 924 F.3d 776, 780 (5th Cir. 2019) (applying

 Richmond to flood insurance contracts), the reasoning is no less applicable in the present

 situation, in which estoppel would compel provision of federal Medicaid funding to Texas in the

 absence of statutory or regulatory authority. Plaintiffs’ estoppel claim thus should be dismissed

 at the threshold.

         For any claim “for money from the Federal Treasury,” the Appropriations Clause

 “provides an explicit rule of decision . . . [T]he payment of money from the Treasury must be

 authorized by a statute.” Richmond, 496 U.S. at 424. The Appropriations Clause has a

 “fundamental and comprehensive purpose . . . to assure that public funds will be spent according

 to the letter of the difficult judgments reached by Congress as to the common good, and not

 according to the individual favor of Government agents or the individual pleas of litigants.” Id. at

 428. For this reason, estoppel that obliges the payment of public funds cannot lie.

         [O]peration of estoppel against the Government in the context of payment of money from
         the Treasury could in fact render the Appropriations Clause a nullity. If agents of the
         Executive were able, by their unauthorized oral or written statements to citizens, to
         obligate the Treasury for the payment of funds, the control over public funds that the
         Clause reposes in Congress in effect could be transferred to the Executive. If, for
         example, the President or Executive Branch officials were displeased with a new
         restriction on benefits imposed by Congress to ease burdens on the fisc . . . and sought to
         evade them, agency officials could advise citizens that the restrictions were inapplicable.
         Estoppel would give this advice the practical force of law, in violation of the
         Constitution.

 Id.; see also United Stated v. Marine Shale Processors, 81 F.3d 1329, 1348-49 (5th Cir. 1996)

 (“Were courts to estop the United States readily, the executive branch could use this doctrine

 strategically to achieve results Congress intended to prevent, thus delivering lawmaking power to


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 the executive in a manner that the first sentence of Article I does not contemplate.” This general

 principal “has particular force when a private party seeks to avoid the coverage of a law because

 of a government agent’s misrepresentation that the law does not apply.”).

        In this case, CMS incorrectly informed Plaintiffs that they were exempt from mandatory

 public notice and comment requirements that underlie the provision of Medicaid funds through a

 demonstration project. Plaintiffs now seek to estop Defendants from refusing to provide them

 with Medicaid funds pursuant to the purported January 15 demonstration project extension. In

 other words, Plaintiffs seek to compel by estoppel the payment of money from the Treasury, on

 the basis of alleged statements by Executive Branch officials, regardless of whether the

 exemption from notice and comment or the January 15 extension approval are legally valid and

 thus regardless of whether such payment is authorized by statute and regulation. This use of

 estoppel is not permitted. See Richmond, 496 U.S. at 427; see also, e.g., Gowland v. Aetna, 143

 F.3d 951, 955 (5th Cir. 1998) (“When federal funds are involved, the judiciary is powerless to

 uphold a claim of estoppel because such a holding would encroach upon the appropriation power

 granted exclusively to Congress by the Constitution.”); Cushman & Wakefield, 275 F. Supp. 2d

 at 769-770 (explaining the limitation on estoppel when a case implicates federal monies and an

 agency’s action in its sovereign capacity). If the Court determines that Texas did not adequately

 justify an exemption from notice and comment and thus CMS improperly granted it, the Court

 could not nonetheless order CMS to expend federal funds for the demonstration project on terms

 Congress did not authorize based on a theory of estoppel. Because federal funds are implicated,

 Plaintiffs’ equitable estoppel claim is barred.

        Even if the Court were to conclude that Plaintiffs’ claim is not barred because of the

 public money at stake, the claim would still fail, as the Amended Complaint does not allege



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 several necessary elements. “[The Fifth Circuit] has not decided whether equitable estoppel may

 lie against the government, but even if it does, ‘the burden that a petitioner must meet is very

 high.’” Knapp v. USDA, 796 F.3d 445, 461 (5th Cir. 2015) (quoting Robertson-Dewar v. Holder,

 646 F.3d 226, 230 (5th Cir. 2011)); see also Andrade v. Gonzales, 459 F.3d 538, 545 n.2 (5th

 Cir. 2006) (“It is not clear that equitable estoppel can ever apply to the Government, but in any

 event, equitable estoppel will not lie against the Government as against private litigants.”

 (citation omitted)).

         The party seeking estoppel must establish five things: (1) affirmative misconduct by the
         government, (2) that the government was aware of the relevant facts and (3) intended its
         act or omission to be acted upon, (4) that the party seeking estoppel had no knowledge of
         the relevant facts and (5) reasonably relied on the government's conduct and as a result of
         his reliance, suffered substantial injury.

 Knapp, 796 F.3d at 461 (quoting Robertson-Dewar, 646 F.3d at 229). Plaintiffs seek to estop

 Defendants from arguing that Plaintiffs’ application for an exemption from notice and comment

 did not satisfy the regulatory requirements of 42 C.F.R. § 431.416(g), but they fail to allege at

 least three of the five elements of equitable estoppel. First, Plaintiffs have not alleged any

 affirmative misconduct on the part of the government in approving the exemption from notice-

 and-comment. Plaintiffs’ Amended Complaint contains no allegations that CMS knowingly or

 intentionally misrepresented or concealed any facts when it initially approved Plaintiffs’

 requested exemption from mandatory notice-and-comment. Indeed, Plaintiffs contend that the

 federal government properly granted Texas an exemption from notice-and-comment (even

 though the federal government later determined that the exemption was not justified). Id. ¶¶ 78-

 80, 169-73, 190; see, e.g., Robertson-Dewar, 646 F.3d at 229 (“Affirmative misconduct requires

 an affirmative misrepresentation or affirmative concealment of material facts by the

 government.” (citation omitted)); id. (“[T]o state a cause of action for estoppel against the



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 government, a private party must allege more than mere negligence, delay, inaction, or failure to

 follow an internal agency guideline.” (citation omitted)).

        Second, Plaintiffs have not alleged that they “had no knowledge of the relevant facts.”

 CMS’s initial decision to grant the exemption was based on the material submitted in Plaintiffs’

 application, so the parties were in possession of the same relevant facts. 1st Amd. Compl. ¶¶ 78-

 80, 191. Plaintiffs allege that CMS was “aware of the relevant facts on which Texas based its

 claim to an exemption: Its application plainly explained the grounds on which it relied,” Id. ¶191,

 but Plaintiffs too, as the authors of that application, were aware of exactly the same facts.

        Third, Plaintiffs’ allegation that Texas “had no knowledge that its request for an

 exemption was improper or legally defective,” 4 and therefore it “reasonably relied on the federal

 government’s assurances” cannot be the basis for estoppel. Id. ¶¶ 193-94. “[A]ll citizens,

 especially citizens dealing with the government, are presumed to know the law,” and thus

 reliance by a plaintiff on a government employee’s misstatement of that law is not reasonable.

 See Marine Shale Processors, 81 F.3d at 1349-50. Each of these three failures, on its own,

 compels dismissal of Plaintiffs’ estoppel claim.

        Finally, Plaintiffs have not sufficiently alleged a waiver of sovereign immunity applicable

 to their estoppel claim. “Sovereign immunity is jurisdictional, and a court lacks jurisdiction to

 hear a claim against the United States unless the plaintiff identifies a statute in which Congress

 has unequivocally expressed a waiver of sovereign immunity in statutory text.” Premier Med.

 LLC v. U.S. Dep’t of Justice, Civil Action 19-1352, 2021 U.S. Dist. LEXIS 10432, at *10 (W.D.




 4 Paragraph 193 appears to be Plaintiffs’ attempt to allege the fourth element of estoppel, that
 they had no knowledge of the relevant facts. However, these allegations are actually a legal
 conclusion and have no bearing on the required showing. Moreover, as explained above
 Plaintiffs’ allegations demonstrate that they were aware of the relevant facts.
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 La. Jan. 20, 2021) (emphasis added) (citing Lane v. Pena, 518 U.S. 187, 192 (1996)).

 Additionally, “Plaintiff must sufficiently allege a basis for subject-matter jurisdiction in the

 Complaint.” Alexander v. Trump, Civil Action No. 17-1081, 2018 U.S. Dist. LEXIS 70688, at *6

 (W.D. La. Apr. 12, 2018). The only statutory waiver identified by Plaintiffs’ Amended

 Complaint is the APA. Plaintiffs do not allege and have not explained how a claim of equitable

 estoppel is unequivocally encompassed by the APA.

            c. The Court should dismiss Plaintiffs’ Spending Clause claim (Count XI).

        In Count XI, Plaintiffs claim that Defendants’ April 16 Letter violates the Spending

 Clause of the U.S. Constitution. More specifically, Plaintiffs allege that by voiding the January

 15 approval of the THTQIP extension, Defendants are withholding all of Texas’s federal

 Medicaid funding in order to coerce the state into expanding Medicaid under the Affordable Care

 Act (ACA). 1st Amd. Compl. ¶¶ 199-201. This claim fails as a matter of law.

        The Spending Clause concerns the “legitimacy of Congress’ power to legislate” under

 that authority and whether “in return for federal funds, the States agree to comply with federally

 imposed conditions.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981). The

 claim available under the Spending Clause against the Federal Government is that Congress has

 exceeded the bounds of its authority in enacting a statute, for example by imposing coercive

 conditions on states. See, e.g., Nat’l Fed’n of Indep. Bus. v. Sebelius (NFIB), 567 U.S. 519, 576-

 77, 580-82 (2012); Arlington Cent. Sch. Dist. Bd. Of Educ. v. Murphy, 548 U.S. 291, 295-96

 (2006); South Dakota v. Dole, 483 U.S. 203, 207-08, 211-12 (1987); Gruver v. Louisiana Bd. of

 Supervisors for the Louisiana State University, 959 F.3d 178, 182-84 (5th Cir. 2020); Tex. Educ.

 Agency v. U.S. Dept. of Educ., 908 F.3d 127, 135-36 (5th Cir. 2018). Plaintiffs do not make this

 type of claim. They do not challenge the constitutionality of 42 U.S.C. § 1315 or any other part



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 of the Social Security Act, or of any congressional enactment. And to the extent the

 promulgation of a regulation could serve as the basis for a Spending Clause claim, Plaintiffs also

 have not challenged the constitutionality of any of the applicable regulations. On this basis alone,

 Plaintiffs have failed to state a Spending Clause claim.

        The Fifth Circuit recently addressed a similar issue in Texas v. Rettig, 987 F.3d 518, 534

 (5th Cir. 2021). In that case, several States alleged that Section 9010 of the ACA imposed a

 condition on Medicaid funding in violation of the Spending Clause. Among other things, the

 court noted that Section 9010 did not impose a condition on the States’ Medicaid funding; rather,

 “[t]he specific Medicaid funding condition that the States contest is in the Medicaid Act . . . . 42

 U.S.C. § 1396b(m)(2)(A)(iii).” Id. at 534. The States, however, “d[id] not contest the

 constitutionality of this section,” and the court thus held that the States “d[id] not have a

 Spending Clause claim.” Id. Similarly, here, Plaintiffs do not challenge the constitutionality of

 any law or regulation, and thus, their Spending Clause claim fails as a matter of law.

        In addition to this insurmountable flaw, Plaintiffs’ reliance on NFIB further demonstrates

 why their claim fails. First, and critically, the States in NFIB challenged the constitutionality of

 the ACA under the Spending Clause, see supra. Plaintiffs’ Amended Complaint only attempts to

 assert that CMS’s actions are “coercive” as a freestanding claim untethered to any challenge to

 the relevant Spending Clause legislation (the Social Security Act) itself . See 1st Am. Compl. ¶¶

 196-203; Gruver, 959 F.3d at 182 (identifying the bases on which Spending Clause legislation

 may be challenged). There is no basis in precedent to support such a claim.

        Second, the NFIB Court found that the ACA was impermissibly coercive because it

 required states to either accept Medicaid expansion or to lose all existing Medicaid funding.

 NFIB, 567 U.S. at 581-82. But Plaintiffs cannot show that they will lose all or even a substantial



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 part of their Medicaid funding as a result of Defendants’ alleged rescission of the January 15

 approval. Even if THTQIP was not extended beyond its current September 30, 2022 expiration

 date and was instead terminated entirely, Texas would not lose its Medicaid funding. The state

 would merely return to the normal “without waiver” requirements of its Medicaid State Plan—

 under which the federal government would continue to provide more than half of the funding to

 provide health care to the state’s qualifying low-income population. See 42 U.S.C. § 1315; see

 generally 42 U.S.C. § 1396(a) et seq.

        Third, unlike in NFIB, in the present case there is no meaningful allegation of

 retroactivity or unfair surprise in any applicable statute or regulation. See NFIB, 567 U.S. at 583

 (“The Medicaid expansion, however, accomplishes a shift in kind not merely degree.”); id. at

 584 (Congress’s spending power “does not include surprising participating States with

 postacceptance or retroactive conditions.” (citation omitted)). As the Fifth Circuit recently

 explained, the “problem in NFIB was that Congress had conditioned all of a state's Medicaid

 funding on accepting significant obligations that created a new program entirely different than

 the original one the state had opted in to.” Gruver, 959 F.3d at 184. Not only is Texas’s basic

 Medicaid State Plan unaffected by the challenged action in this case, but even if Plaintiffs had

 challenged the demonstration project statute or applicable regulations, they are neither new nor

 surprising. Section 1115 of the Social Security Act was enacted in 1962, Pub.L. 87-543, Title I, §

 122, 76 Stat. 192 (July 25, 1962), and was amended to require public notice and comment, along

 with the implementing regulations at issue, in 2010, Pub.L. 111-148, Title II, § 2601(b)(2), 124

 Stat. 315, 922 (Mar. 23, 2010). Plaintiffs have been participating under this demonstration

 project, subject to the same statutory and regulatory obligations, since 2011. See Ex. A at 3; see

 also Gruver, 959 F.3d at 184 (distinguishing the challenged statutory section from the ACA in



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 NFIB because it “d[id] not resemble the creation of a brand new legislative program,” and “ha[d]

 been on the books for over 30 years, all the while [the state agency] continued to accept federal

 funding.”). Thus, even making all reasonable inferences in the light most favorable to Plaintiffs,

 they have failed to allege anything resembling the claims in NFIB or indeed a Spending Clause

 claim of any kind.

    IV.      Conclusion

          For the reasons stated above, the Court should grant Defendants’ Partial Motion for

 Judgment on the Pleadings and dismiss Counts IX, X and XI of the First Amended Complaint.



 Dated: October 4, 2021                                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served on all counsel of record by

 operation of the court’s electronic filing system and can be accessed through that system.


 DATED: October 4, 2021
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